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AO 93 (Rev. 11/13) Search and Seizure Warrant(USAO CDCA Rev. 04/17)




                                            UNITED STATES DISTRICT COURT
                                                                              for the
                                                                 Central District of California

                          In the Matter of the Search of                        )
                                                                                                         ~ 9~~0481~
                (Briefly describe the property to be searched or ident~ the                                       c~         .,  ~~
                               person by name and address)                       ~      CaSO NO.                  ~
                                                                                                                  i'       rn ~
                                                                                                                           "  ~" ~
                                                                                                                                 ..i~+
          413 E. 5~' Street, Apartment 2, Long Beach,                           )                                          ~ ~'- ~
                                                                                                                    ~   ~".~. i

          California("SUBJECT PREMISES")
                                                                                                                        "
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                                                                                                                        c.~ Y
                                                   SEARCH AND SEIZURE WARRANT                                                               "_ .
To:       Any authorized law enforcement officer                                                                                 ,~.~
        An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the Central District of California (identify the person or describe the property ro be Searched
and give its location):


       See Attachment A-3

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

       See Attachment B-2

       Such affidavits) or testimony are incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not ro exceed 14 days)
       ❑ in the daytime 6:00 a.m. to 10:00 p.m. ~ at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Jud wone    duty at the time ofthe return
through a filing with the Clerk's Office.
      ❑ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay oftrial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the app,-opriate box)
       ❑ for          days (not to exceed 30)       ❑until,the facts justifying, the later specific date of


Date and time issued:            ~ t - l;~ -2~ l ~'I              -~' ~ ~~ ~.) N~~                   ~J ~~~ ~                          _
                                                                                                             udge              ture        ~1


City and state:             Los Angeles, CA                                                       Honorable Alka Sagar
                                                                                                          Printed name and title

AUSA: Brvant Yan ~x0166
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                                                                  Return
Case No.:                               Date and time warrant executed:        Copy of warrant and inventory left with:
  R1-17-0180                             11/13/2019 6:00 pm                     Living Room Couch
Inventory made in the presence of
   Barrett Warren
Inventory of the property taken and name of any persons) seized:

   On November 13, 2019. At approximately 6:00 p.m., the Los Angeles Field Division Group 1 members executed a Search
   Warrant at 413 E. 5th Street, Apartment 2, Long Beach, California. The following items were taken from the residence:

   A)Drug Paraphernalia
   B)Documents

   Agents Note: Consent to search was granted, however, agents ensued a Search Warrant just to be diligent in their duties.




                                                               Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:            11/22/2019
                                                                                        ecuting officer's signature

                                                                                  Angelica Childs Special Agent
                                                                                        Printed name and title
